Dear Chief Landreneau:
In response to your inquiry of recent date, the law does not prohibit one from concurrently holding full-time employment as a municipal police officer while holding part-time employment with another law enforcement agency. An impermissible situation is created where both positions are held on a full-time basis, as LSA-R.S. 42:63(E) provides:
      E. No person holding a full-time appointive office or full-time employment in the government of this state or of a political subdivision thereof shall at the same time hold another full-time appointive office or full-time employment in the government of the state of Louisiana, in the government of a political subdivision thereof, or in a combination of these.
No illegality exists here as one position is held on a part-time basis.
Very truly yours,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                   BY: __________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams